Exhibit 1
DTI_LS1

From:                                       West, Philip
Sent:                                       Friday, March 31, 2017 2:05 PM
To:                                         Paschall Carly
Subject:                                    Any chance you can help with a time sensitive request to speak to your chief
                                            compliance officer?



We have a client with a matter threatening its corporate existence and we'd like to appeal to your CCO about a
decision Wells is making.

Many thanks.
Philip R. West
Chair

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